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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS


                                                 )
 In re:                                          )                     Chapter 7
                                                 )                     Case No. 23-40709-CJP
 WESTBOROUGH SPE LLC,                            )
                                                 )
                  Debtor                         )
                                                 )

                        ORDER ON IN CAMERA PRIVILEGE REVIEW

          Pursuant to my order on the record at a discovery conference held on August 30, 2024,

see Order [ECF No. 314], counsel to the chapter 7 trustee Jonathan R. Goldsmith (the “Trustee”)

delivered certain electronic files for in camera review for privilege. The Trustee and other

parties have asserted that communications among some or all of them regarding settlement of

various issues that are or were proposed to be addressed in the motion to approve settlement

agreement [ECF No. 190] pending before the Court are not relevant and are subject to Federal

Rule of Evidence 408 (“Rule 408”), as made applicable by Federal Rule of Bankruptcy

Procedure 9017. The Court has also considered whether the documents would be subject to

attorney/client, work product, or joint defense/common interest privileges.

          I have reviewed numerous emails and attachments submitted in “.pst” format (486,345

kb) and approximately 20 files submitted in “.pdf” format. Most of the emails and attachments

relate to negotiation of a settlement, coordination of calls to discuss settlement, preparation of

motions and discussion of obtaining approval of the settlement, and negotiation and execution of

the settlement agreement that was submitted to the Court. See Settlement Agreement and Mutual

Release [ECF No. 189]. Except as I will discuss below, the documents constitute

communications in furtherance of settlement that are subject to Rule 408 and/or subject to a joint
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defense/common interest privilege. At the discovery conference, Mr. Akouete indicated that he

believes that these documents may be relevant to demonstrate collusion or bias. I find that the

documents would not be relevant for that purpose and would not be subject to the exception in

Rule 408(b).

       Certain documents consist of email “strings” that contain emails sent by or to Mr.

Akouete or attach documents filed by Mr. Akouete. Obviously, those portions of the documents

would not be subject to any privilege, but they would be in possession of Mr. Akouete and need

not be produced.

       There are also documents attached to some emails that would not be subject to privilege

consisting of plans showing boundaries and deferred maintenance provided by Attorney Zide

that presumably relate to his client’s claim. See Proof of Claim 6-3. Those attachments should

be produced to Mr. Akouete on or before September 11, 2024 at 12:00 p.m. Even though their

relevance to the proposed settlement is not clear, that claim is being compromised. None of the

other documents must be produced.

       The Court will maintain the records provided for in camera review until this case is

closed and then they will be destroyed.




  Dated: September 9, 2024                          By the Court,



                                                    ____________________________
                                                    Christopher J. Panos
                                                    United States Bankruptcy Judge




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